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     RAFAEL OJEDA-ONTIVEROS
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 04-388 MCE
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   RAFAEL OJEDA-ONTIVEROS,                             RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable MORRISON C. ENGLAND, JR.
16
17             Defendant, RAFAEL OJEDA-ONTIVEROS, by and through his attorney, Assistant
18   Federal Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and
19   through its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On July 19, 2007, this Court sentenced Mr. Ojeda-Ontiveros to a term of 210

25   months imprisonment;

26             3.         His total offense level was 37, his criminal history category was I, and the

27   resulting guideline range was 210 to 262 months;

28

     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Ojeda-Ontiveras was subsequently
2    lowered by the United States Sentencing Commission in Amendment 782, made retroactive on
3    July 18, 2014, see 79 Fed. Reg. 44,973;
4              5.         Mr. Ojeda-Ontiveros’ total offense level has been reduced from 37 to 35, and his
5    amended guideline range is 168 to 210 months;
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Ojeda-Ontiveros’ term of imprisonment to 168 months.
8    Respectfully submitted,
9    Dated: January 6, 2016                             Dated: January 6, 2016
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12    /s/Jason Hitt                                     /s/ Hannah R. Labaree
     JASON HITT                                         HANNAH R. LABAREE
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           RAFAEL OJEDA-ONTIVERAS
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                   ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Ojeda-Ontiveros is entitled to the benefit
5    of Amendment 782, which reduces the total offense level from 37 to 35, resulting in an amended
6    guideline range of 168 to 210 months.
7              IT IS HEREBY ORDERED that the term of imprisonment imposed in July 2007 is
8    reduced to a term of 168 months.
9              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
10   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
11   reduction in sentence, and shall serve certified copies of the amended judgment on the United
12   States Bureau of Prisons and the United States Probation Office.
13             Unless otherwise ordered, Mr. Ojeda-Ontiveros shall report to the United States
14   Probation Office within seventy-two hours after his release.
15             IT IS SO ORDERED.
16   Dated: January 11, 2016
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     Stipulation and Order Re: Sentence Reduction       3
